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  7
  8    ATTORNEYS FOR KNIGHT MOTORS, LP

  9                  IN THE UNITED STATES DISTRICT COURT
  10                OF THE CENTRAL DISTRICT OF CALIFORNIA
                             LOS ANGELES DIVISION
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  12
       In re: Hyundai and Kia Engine           KNIGHT MOTORS, LP
  13   Litigation, No. 8:17-cv-00838-JLS-JDE   OBJECTIONS TO DEFENDANTS’
                                               NOTICE REGARDING EXCLUSION
  14   and Flaherty v. Hyundai Motor           OF COMMERCIAL ENTITIES AND
       Company, Inc. et al, No. 18-cv-02223    MEMORANDUM OF POINTS AND
  15   (C.D. Cal.)                             AUTHORITIES
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                                               JURY TRIAL DEMANDED
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         OBJ. RE: DEFENDANTS’ COMMERCIAL NOTICE AND MEMO OF PTS.
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  2        OBJECTIONS TO DEFENDANTS’ NOTICE REGARDING COMMERCIAL
             ENTITIES AND MEMORANDUM OF POINTS AND AUTHORITIES
  3
  4          AND NOW COMES, Knight Motors, LP (“Knight Motors”) by and through its

  5    counsel, The Archinaco Firm LLC and files the within Objections to Defendants’
  6    Notice Regarding Exclusion of Commercial Entities and Memorandum of Points and
  7
       Authorities, averring in support as follows:
  8
            A. THE COMMERCIAL NOTICE IS MISLEADING AND SHOULD NOT
  9            BE APPROVED.
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              Whether someone is a member of the class or not is irrelevant to whether a
  11
       recalled vehicle must be remedied as the Safety Act and the federal Recalls required
  12
  13   both HMA and KIA to provide a remedy for vehicles that are affected by the engine

  14   bearing defect. 49 U.S.C. § 30120. Further, HMA is under a secondary obligation to
  15   comply with the Safety Act due to the Consent Agreement that it entered into with
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       NHTSA regarding its engine bearing defect. See generally, Consent Order, ¶ 12(a)-
  17
       (c); See also, ¶ 16 (“Nothing in this Consent Order discharges Hyundai from any
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       obligation to comply with the Safety Act or regulations thereunder, including the
  19
  20   obligation to carry out recalls in accordance with law . . . .”).1

  21          With regard to the Safety Act, 49 U.S.C. § 30120(a) requires that:
  22          when notification of a defect or noncompliance is required under section
  23          30118(b) or (c) . . . the manufacturer . . . shall remedy the defect or
              noncompliance without charge when the vehicle or equipment is
  24          presented for remedy.
  25

  26   1
          The Consent Order is publicly available at NHTSA’s website, located at:
  27   https://www.nhtsa.gov/sites/nhtsa.gov/files/documents/rq17-
       004_hyundai_consent_order_executed_11272020.pdf
  28                                                2
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  1    Additionally, Section 30120(a)(1)(A)(i)-(iii) provides a manufacturer with multiple
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       methods it can select from to remedy the defect, including by repairing, replacing or
  3
       providing a refund as set forth in the statute. Although the election of remedy is left
  4
       to the manufacturer, what is unequivocally clear is that one of the remedies must be
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  6    provided in a Section 30118(b) scenario as is instantly presented. Indeed, Section

  7    30120 (c)(2) provides that “[f]ailure to repair a motor vehicle or replacement
  8    equipment adequately not later than 60 days after its presentation is prima facie
  9
       evidence of failure to repair within a reasonable time. . . .”
  10
               Here, HMA and KIA have crafted a misleading notice to commercial entities
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       that improperly suggests and/or implies that they do not have an affirmative duty to
  12
  13   remedy the vehicles. Not only is there no mention of the Safety Act or HMA / KIA’s

  14   obligations and duties under the Act, but additionally, the notice unequivocally states
  15   that remedies offered to commercial entities are “goodwill gestures” only. This is
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       false, as the Safety Act makes clear. Further, there is nothing in the notice that
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       clarifies that both HMA and KIA are obligated under the Safety Act to provide a
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       remedy, independent of any Class Action Settlement, as they are required to do. As
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  20
       such, the notice should not be approved, as it is misleading.

  21         Accordingly, the second bullet point paragraph in particular should be deleted
  22   in its entirety, and replaced with appropriate language that includes a statement that
  23   while an owner / entity is no longer entitled to benefits under the Settlement
  24
       Agreement, that an owner / entity is still entitled to have a qualifying automobile
  25
       remedied by HMA pursuant to 49 U.S.C. § 30120(a)(1)(A)(i)-(iii), and that the owner
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  27
  28                                                3
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  1    / entity should contact HMA. No language about “goodwill gesture” should be
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       included in the updated notice.
  3
             Proposed remedied language for paragraph 2 of the notice is as follows (bold
  4
       added, strikethrough deleted):
  5
  6          While you are no longer entitled to the benefits provided by the
             Settlement, since you have submitted a claim, as a goodwill gesture,
  7          Hyundai is willing to offer benefits to you similar to those offered under
  8          the Settlement should you be willing to provide a release of your
             individual claims, you may be entitled to a remedy pursuant to the
  9          Safety Act. (See, 49 U.S.C. § 30120(a)(1)(A)(i)-(iii)). You will need to
  10         contact Hyundai about the benefits remedy you are seeking by e-
             mailing settlement@HMAEngineSettlement.com and referencing your
  11         receipt of this Notice. Hyundai will consider these requests on a case-
  12         by-case basis consistent with the Safety Act. Even if your claim was
             previously denied, Hyundai may reconsider offering benefits to you still
  13         provide a remedy to you. This Notice does not obligate Hyundai to
  14         provide you with the same benefits for which you may have previously
             submitted a Settlement claim benefits beyond those conferred and set
  15         forth in the Safety Act.
  16

  17                                         RESPECTFULLY SUBMITTED
  18                                         By: /s/Jason A. Archinaco
  19                                         Jason A. Archinaco
                                             THE ARCHINACO FIRM LLC
  20                                         1100 Liberty Ave., Suite C-6
  21                                         Pittsburgh PA 15222
                                             Counsel for Objector Knight Motors, LP
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  1                              CERTIFICATE OF SERVICE
  2
         I, Jason A. Archinaco, Esquire, hereby certify that a true and correct copy of the
  3
  4    foregoing KNIGHT MOTORS, LP OBJECTIONS TO DEFENDANTS’ NOTICE
  5    REGARDING EXCLUSION OF COMMERCIAL ENTITIES AND
  6
       MEMORANDUM OF POINTS AND AUTHORITIES was served to and upon the
  7
  8    following this 24th day of May 2021 through the courts CM/ECF filing system:
  9
  10                                   Shon Morgan
                     QUINN EMANUEL URQUHART & SULLIVAN, LLP
  11                        865 South Figueroa Street, 10th Floor
  12                           Los Angeles, California 90017
  13
                                   Kari Wohlschlegel
  14                                     Tina Lo
                                   Christine W. Chen
  15
                     QUINN EMANUEL URQUHART & SULLIVAN, LLP
  16                         50 California Street, 22nd Floor
  17                            San Francisco, CA 94111

  18

  19
                                                     By: /s/ Jason A. Archinaco
  20                                                        Jason A. Archinaco
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